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                                   UNITED STATES DISTRICT COURT

                                    DISTRICT OF MASSACHUSETTS



        PAUL JONES

        Plaintiff                             Civil Action No.
                      V.



       BANK OF NEW YORK TRUSTEE FOR THE CERTIFICATE HOLDERS
       CWABS,INC, ASSET-BACKED CERTIFICATE, SERIES 2004-7                                             ®^
       SANDRA ROBINSON                                                                    %%
       SELECT PORTFOLIO SERVICING INC
                                                                                                      -ji   -n
       Defendants                                                                                     ^     -r\
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                                                                                              u>'A           rn

                            FIRST AMENDED VERIFIED COMPLAINT



I. This is an action brought by plaintiffPaul Jones against defendant The Bank of New York

  Trustee , for wrongful foreclosure of his home. The foreclosure of plaintiffs home is void as it

  violated the statutory power of sale for three reasons: (1) because the notice of default and

  acceleration was sent by the servicer, not the defendant BNY whom claims to be the Lender as

  required by the terms ofthe mortgage. The SJC stated and explained the new rule's application
  'to mortgage foreclosure sales of properties that are the subject ofa mortgage containing
  paragraph 22 or its equivalent and for which the notice of default required by paragraph 22 is
  sent afterJuly 17, 2015 (Date of Pinti case commencement of the statute.) as in this case

  defendant SPS the servicer not the holder of the mortgage send the default notice ,Acceleration

  and cannot get around it. The servicer (SPS) not the defendant BNY (So called Lender) whom

  claims to be the Lender as required by the terms of the mortgage section 22
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(2) because no notice of the foreclosure was sent to the Town of Stoughton by defendant BNY

within 30 days, as required G.L.c.244, § 15A (3) because the notary failed to keep a notary log of

records that contained the date of each instrument notarized with the names of signors, grantors

or makers, the name and mailing address of the grantee, the name of the original grantee and the

county where the land is located"; "and a brief description of the instrument". As required by the

Texas Government Notary Public Act Sec. 406.014. (4) Defendants were not in possession of the

mortgage & note at the time they made the Confirmatory of assignment of mortgage dated

October 28 2008 or the assignment dated February 25, 2008, The SJC has stated "In

Massachusetts, a "confirmatory assignment" of a mortgage is a written document that may be

executed and recorded after the foreclosure ofthe mortgaged property when the written

assignment of the mortgage was executed before the foreclosure but was not in recordable form"

the confirmatory assignment that defendants relies on was not was not recorded after the

foreclosure at issue the SJC uses the word "AND". (5) The notary of the controlling assignment

that has a Confirmatory assignment confirming it was altered by a person (Tiffany Skaife) that is

not and was not at the time the assignment was made so said by the notary of that assignment

Sandra Robinson and section were left blank by the notary. (6) Defendants confirmatory

assignment did not take place after the foreclosure the SJC stated that "If a valid pre-foreclosure

assignment took place, a "confirmatory assignment may be executed and recorded after the

foreclosure and doing so will not make the title defective." (7) Defendants do not have a written

assignment of the Note only the mortgage.
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                                                 PARTIES

2. Plaintiff Paul Jones ("Plaintiff) is a natural person residing in Stoughton, Massachusetts,

     Norfolk County.

3. Defendant Bank of New York Trustee for the Certificate Holder CWABS,INC, Asset-Backed

     Certificate, Series 2004-7 (BN Y) is a DelawareCorporation and has a usualplaceof business at 101

     Barclays StreetNew York,NY 10286

4. Defendant Select Portfolio Servicing, Inc. ('SPS") is a residential loan servicing company with

     headquarters located at 3217 S. Decker Lake Drive, Salt Lake City, Utah 84119.

5. SandraJ. Robinson (" Sandra") is a natural person residing in Aubrey, Texas, Denton County an

     ex-employee of Countrywide/ Bank of America and a previous Notary for the state of Texas.



                                             JURISDICTION

6.    This court has jurisdiction over this matter pursuant to 28 U.S.C. §1332.

7. Venue is proper in this Court pursuant to 28 U.S.C. 1391(b) in as much as the challenged

     actions are alleged to have been committed in this District, all Defendants regularly conduct

     business in this District, and the named Plaintiff reside in this District.

8. Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C. § 1331, Declaratory

     relief is available pursuant to 28 U.S.C. §§ 2201 and 2202.

9.    Jurisdiction of this Court arises under complete diversity between the parties to a lawsuit

      exceeds the sum or value of $75,000 jurisdiction under 28 U.S.C. § 1332(a)(1).
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                                                 FACTS


10. All conditions precedent to the bringing of this action has been performed, the amount in

    controversy exceeds $75,000 in this complaint.

11. Plaintiffs states as an initial matter that due to the extremely complicated subject matter

    attendant to this area of the law, it is extremely difficult (if not impossible) to not be somewhat

    verbose, as the "securitization" of mortgages and foreclosure is about as unfathomably deep as

    a subject can get, and the Plaintiffs apologies in advance for the extent of this complaint.

12. Plaintiff resides at the property at issue, 572 Park Street, Stoughton, Ma 02072.

13. Plaintiff acquired the home in 2002 under a deed recorded in the Norfolk, County registry of

    deeds at book 16766, page 1.

14. On June 22, 2004, Plaintiff refinanced and entered into a loan arrangement with Optima

    Mortgage Corporation as the "originator" (this Mortgage was one insured by the FHA),

    through the execution of a purported promissory note made payable specifically to Optima

    Mortgage Corp in the amount of $275,550.00 under Massachusetts state law, the contractual

    right to enforce the power of sale in his mortgage.

15. The loan was secured by a mortgage in favor of Mortgage Electronic Registration Systems, Inc

    as nominee for Optima Mortgage Corporation, as nominee for Optima Mortgage Corporation

    the mortgage is recorded at the Norfolk, County Registry of deeds at book 22224 page 219.

16. Due to the loss of income from plaintiffs Home Improvement Company plaintiff fell behind in

   his mortgage payments.

17. on August 2, 2005 Countiywide Home Loan Servicer LP sent plaintiff a deficient notice of

    acceleration of mortgage / notice of default (they were not the Lenders), Countrywide August

    2, 2005 notice of default did not strictly comply with paragraph 22 of the mortgage, as required
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    under the statutory power of sale and under the Massachusetts Supreme Judicial Court's

    ("SJC") case law.

18. The date of August 2, 2005 Countrywide's notice of default to Plaintiff, Optima Mortgage
                                                                  t




   Corporation was the lender and Countrywide Home Loan Servicer LP was the servicer of the

   loan.

19. On or about November 6, 2006, BNY filed a complaint with the Massachusetts Land Court

    complaint. In that complaint, BNY alleged that where the Lender and holder of plaintiff

    mortgage which was false.

20. Plaintiff filed a Chapter 13 petition on February 7,2007 due to his loss of income and the

    unlawful December 7, 2007 foreclosure sale of his home.

21. On May 17, 2007 In the Bankruptcy Court, Countrywide Home Loans, Inc. filed a motion for

    relief from stay ('MFRS") claiming to be the present holder of plaintiffs Mortgage, plaintiff

    attorney successfully argued that Court, Countrywide Home Loans, Inc was not the owner of

    record and did not have a valid assignment attached to their MFRS, and that defendant BNY

    claimed to be the owner of record (Lender) on November 6, 2016 when BNY filed a

    Servicemembers Civil Relief Act, Complaint to foreclose (SCRA) complaint to foreclose in

    the Massachusetts Land Court, Countrywide Home Loans conceded and dismissed there

    Motion from relief from stay.

22. On August 8, 2007 In the Bankruptcy Court defendant BNY filed a motion for relief from stay

    and attached a mortgage assignment that was undated but notarized on November 20, 2006,

    from MERS as nominee of Optima Mortgage Corporation to Bank of New York as Trustee for

    Certificate Holders, CWABS, Inc., Asset-Based Certificates, Series 2004-7, claiming that

    defendant MERS assigned the mortgage & Note to BNY.
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23. Plaintiffs' attorney pointed out that this assignment was notarized 14 days after defendant filed

    their Complaint to foreclose in the land court (Exhibit 3), plaintiff ran out of money and the

    MFRS was unopposed.

24. On December 3,2007 defendants foreclosed on plaintiffs property without sending plaintiff a

    default and acceleration notice, they relied upon Countrywide's August 2, 2005 notice of

    default and acceleration notice to plaintiff which was contrary to statutory power of sale G.L.c

    183 §21.

25. On or about January 2008 defendants BNY filed several summary processes in the Stoughton

    district court, the judge ordered BNY on each occasion to produce evidenced that they had a

    valid assignment of mortgage before they filed the complaint to foreclose in the Land Court

    and ultimately foreclosed on plaintiffs' home.

26. One or about March 13 , 2008 the defendants own attorney conceded in Stoughton District

    court that, all three Summary process complaints alleged no notice of default / acceleration

    came from the claimed Lender BNY to the plaintiff and that defendant BNY relied on 4

    assignments, 2 which were in blank, one assignment undated but notarized on November 20,

    2006, 14 days after BNY filed a Complaint to foreclose in the Land court and a 4^ assignment

    dated October 10, 2006 and notarized on January 25, 2008, which was otherwise an identical

    assignment from MERS as nominee of Optima Mortgage Corporation to Bank of New York as

    Trustee for Certificate Holders, CWABS, Inc., Asset-Based Certificates, Series 2004-7. It was

    recorded February 25, 2008, before BNY's foreclosure deed to itself. The notary's handwritten

    revision of the prepared notarization date from October 10, 2006 to January 25, 2008 (Back

    dated) was worthy of note, judge Karen White dismissed the Summary processes with

    prejudice (Exhibit 7 Court Transcript).
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27. One or about the Fifth assignment purports to be a confirmatory assignment, it purportedly

    confirms the Fourth assignment that was recorded in the Norfolk Registry of deeds on

    February 25,2008 Book 25529 Page 356 from MERS on behalf of Option One dated October

    10, 2006.

28. The SJC and Massachusetts controlling case law has long held that a confirmatory assignment,

    however, cannot confirm an assignment that was not validly made earlier or backdate an

    assignment being made for the first time, if a lender records a true confirmatory assignment, it

    must do much better than simply state an effective date.

29. On Jul 31, 2019 BNY attorneys in their supporting memorandum to dismiss a FDCPA claim

    BNY has stated in this federal district court and in the Stoughton District court Summary

    process on or about May 9 2019 & February 26, 2019 that they have rescinded the December

    2007 foreclosure and it is irrelevant, plaintiff relied on these documents and statements to

    frame this complaint.

30. On or about April 26, 2017 Select Portfolio Servicing Inc ("SPS") sent plaintiff a notice of

    default / acceleration on September 11,2018 and they were not the lenders and caused an

    affidavit to these facts to be recorded in the Norfolk Registry of deed Book 36285 page 536.

31. Bank of NY did not demonstrate a simple chain of title that well established its record

    ownership of the mortgage

32. These assignments never could have taken place under BNY own rules of their own PSA,

    Massachusetts controlling caselaw states that MERS cannot transfer a note, plaintiffs contend

    that MERS cannot assign the note because MERS never held the note.

33. MERS was never in possession of the note to transfer it to defendant BNY, BNY has no

    "substantive right to enforce the note and mortgage as a holder through MERS transfer of
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    plaintiff note, plaintiff request a declaration that the transfer of the note to BNY is void and or

    voidable under MassachusettsLaw as defendant BNY did not have substantive right to enforce

    plaintiffs note under either assignment when MERS reportedly transferred plaintiffs Note with

    the mortgage.

34. More to the point a mortgagee must have a valid claim to the debt before attempting

    foreclosure, MERS' own Terms and Conditions of Membership published on MERS, Inc

    website at www.mersinc.org states MERS, Inc further indicates that it does not ever have

    beneficial interest in mortgage notes. It states, "that it has no rights whatsoever for creating or

    transferring beneficial interest in the mortgage loans. MERS specifically states in Defining the

    Mortgage Electronic Registration System, once in the MERS System, MERS becomes the

    Mortgagee of record for its members, but the original lender or subsequent party who

    purchased the note retains physical possession of the note.

35. A lender does not have standing to commence a foreclosure action when the lender's assignor

    was listed in the underlying mortgage instruments as a nominee and mortgagee for the purpose

    of recording, but never actually held the underlying notes

36. Plaintiff challenges the 2018 foreclosure sale due to invalid assignments this is a concrete and

    particularized injury in facts under Spokeo, a causal connection that permits tracing the

    claimed injury to the defendant's BNY actions, and Plaintiff has a likelihood that prevailing in

    the action will afford some redress for the injury.

37. Defendant BNY did not posse the promissory note underlying the mortgage when the

    foreclosures occurred on or about April 9, 2018.
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38. The relevant documents appear to have not been created in accordance with MERS practices

    for authorizing and assigning only mortgages. MERS has no substantive rights itself to

    plaintiffs Note, and, therefore, cannot assign what it did not have.

39. In addition, there is no evidence of proper Chain of Title of the Mortgage or the Note from the

    Original Lender to the Trustee. The Note has no endorsements on it showing it was ever

    transferred to any other entity.

40. The controlling assignments the defendant BNY relies on was notarized by Sandra J. Robinson

    in Texas she did not keep a notary log of records of the date of each instrument notarized";,

    "the name of the signer, grantor, or maker";, "the name and mailing address of the grantee";,

    "if land is conveyed or charged by the instrument", "the name of the original grantee and the

    county where the land is located"; "and a brief description of the instrument". As required by

    the Texas Government Notary Public Act Sec. 406.014.

41. Entries in the notary's book are public information under the above Texas Notary Act, Sandra

    J. Robison was unable to provide plaintiff with a certified copy of the record of her official acts

    notarizing the assignments at issue that defendants BNY relied on to conduct the foreclosure

    on plaintiffs home. (Exhibit ), as required by Sec. 406.014(c) of the Texas Government

    Notary Public Act which states "A notary public shall, on payment of all fees, provide a

    certified copy of any record of official acts in the notary public's book of record to any person

    requesting the copy" this made the Notarization on the assignments Void.

42. Also when Sandra J. Robinson the notary signed and sealed the assignment in question, she left

    boxes blank which is contrary to Sec. 406.014(c)
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43. Notarize documents such as assignments must be according to law and these legal documents

    cannot contain blank spaces or boxes, assignments are void and cannot be used to foreclose on

    plaintiff property.

44. On October 30, 2012 Sandra J. Robinson informed a local Texas Investigator / Process Server

    William N. Albright that she worked for Countrywide Mortgage / Bank of America along with

    Tiffany Skaife, Sandra Robinson state while at Countrywide Mortgage / Bank of America she

    never kept a notary log of documents she signed or notarized it would have been too difficult

    (Exhibit Affidavit of William N. Albright).

45. Sandra J. Robinson also stated that Tiffany Skaife crossed out the date on the assignment and

    added the date of 01/25/08, she iterated that she makes her #8 with to circles not the way the 8

    was draw it was not her handwriting (Exhibit William Albright Affidavit).

46. At that time William N. Albright asked Sandra if she was in fact ever an employee of

    Countrywide / Bank of America and she admitted that she was a bonified employee of

    Countrywide / Bank of America during 2008 and prior to Sandra Robinson stated according to

    his affidavit.

47. Sandra Robinson stated that she made no effort to keep a notary log of each document she

    notarized.

48. Sandra Robinson stated that if it was ever repeated to someone, she would deny ever saying it.

49. William N. Albright showed Sandra Robinson a copy of the mortgage assignment dated

    January 25, 2008.

50. Sandra Robinson stated the Tiffany Skaife changed the date of the document whom is not a

    notary public in Texas or Massachusetts on January 25,2008.




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51. Sandra Robinson stated specifically that that the way the number "8" was made on the

    assignment was not typically of how she (Sandra) would make the numeral "9".

52. Sandra Robinson stated she would have made it with two circles on top of each other not the

    way it was drawn, she reiterated several times that she did not change the date, the way the

    date is written is not her handwriting.

53. Sandra Robinson stated that Tiffany Skaife worked directly in back of her at countrywide

    mortgage., Sandra stated that the assignment came from Countrywide Mortgage

54. Sandra Robinson stated that Tiffany Skaife would often hand her as many as Five documents at

    a time for her to notarize, and she would Notarize them without looking at them or filling out a

    Notary log.

55. Entries in the notary's book are public information under the above Texas Notary Act, Sandra

    J. Robison was unable to provide plaintiff with a certified copy of the record of her official acts

    notarizing the assignments at issue that defendants BNY relied on to conduct the foreclosure

    on plaintiffs home. (Exhibit ), as required by Sec. 406.014(c) of the Texas Government

    Notary Public Act which states "A notary public shall, on payment of all fees, provide a

    certified copy of any record of official acts in the notary public's book of record to any person

    requesting the copy" this made the Notarization on the assignments Void.

56. Also when Sandra J. Robinson the notary signed and sealed the assignment in question, she left

    boxes blank which is contrary to Sec. 406.014(c)

57. Notarize documents such as assignments must be according to law and these legal documents

    cannot contain blank spaces or boxes, assignments are void and cannot be used to foreclose on

    plaintiff property.




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58. The third & Fourth assignment of Mortgage transferred by MERS as Nominee for Optima

      Mortgage Corporation in the witness whereof statement, the date is missing, the names are

      stamped in block letters, boxes are left blank, the date the notary signed it first had 10/10/06,

      that date was crossed out and 01/25/08 was written in and notarized on January 25,2018 by

      Sandra J. Robinson.

59. Sandra J. Robinson informed a local Texas Investigator / Process Server William N. Albright

      that she worked for Countrywide Mortgage / Bank of America along with Tiffany Skaife,

      Sandra Robinson state while at Countrywide Mortgage / Bank of America she never kept a

      notary log of documents she signed or notarized it would have been too difficult (Exhibit 7

      Affidavit of William N. Albright).

60. Sandra J. Robinson also stated that Tiffany Skaife crossed out the date on the fourth

      assignment and added the date of 01/25/08, she iterated that she makes her #8 with to circles

      not the way the 8 was draw it was not her handwriting (Exhibit William Albright Affidavit).

61. Defendants Assignment and Confirmatory Assignment of Mortgage is not consistent with the

       Supreme Judicial Court of Massachusetts' decision in Ibdnez and is void on itsface.

62.   The SJC has also stated that the defendants BNY would have to hold both the mortgage and

      the note in order to foreclose which they did not the Note is made out to Bank of America not

      the defendants BNY.

63. The foreclosure in this case took place after the SJC issued Eaton v. Fed Nat'lMort. Ass'n,

      462 Mass. 569, 969 N.E.2d 1118 (2012), where the court "construe[d] the term ["mortgagee"]

      to refer to the person or entity ... holding the mortgage [at the time the foreclosure initiates]

       and also either holding the mortgage note or acting on behalf of the note holder. Before Eaton,

       it was understood that the mortgagee seeking to execute only had to possess the mortgage to



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      initiate the procedures. The SJC expressly made that ruling prospective, the defendants did not

      both the note and the mortgage, at the time they foreclosed.

64.   Plaintiff is neither a party to nor a third-party beneficiary of the Pooling & Service Agreement

      plaintiff alleges enough facts to set forth a plausible claim for violations of Section 14 under

      this theory.

65.   Plaintiff is questioning whether legal binding assignment and confirmatory assignment took

      place before the foreclosure began, as Section 14 requires which it did not.

66. Plaintiff questions whether the entity that foreclosed on his property actually had the power of

      sale at the time the foreclosure took place. It is, therefore, not a question of the validity of the

      assignment under the PSA, but a question of the timing of the assignment in relation to the

      initiation of the foreclosure proceedings.

67. The defendants (BNY) in this case did not hold the mortgage and or Note at the time they

      foreclosed and, therefore, had no right to exercise the power of sale under Section 14.

68.   The recorded Confirmatory assignment was dated and notarized on October 21, 2008, and the

      Assignment of mortgage dated February 25, 2008 this assignment also it states the MERS

      assigns the Mortgage and the Note."MERS, as nominee for Lender and lender's successors

      and assigns", A nominee of the owner of a note and mortgage may not effectively assign the

      note and mortgage to another for want of an ownership interest in said note and mortgage by

      the nominee.


69. In which the MERS system is structured provides that, "[w]hen the beneficial interest in a

      loan is sold, the promissory note is transferred by an endorsement and delivery from the buyer

      to the seller, but MERS Members are obligated to update the MERS(r) System to reflect the




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      change in ownership of the promissory note. However, there is nothing to prove that the Note

      in this case was transferred other than a Note that was transferred to Bank of America in 2013.

70.   What is undisputed is that MERS did not have any rights with respect to the Note, a nominee

      (MERS) of the owner of a note and mortgage may not effectively assign the note and

      mortgage to another for want of an ownership interest in said note and mortgage by the

      nominee.

71.   MERS's "nominee" status and the mortgage note documents doesn't give MERS authority to

      assign (nominee is[a] person designated to act in place of another, usually in a very limited

      way.'") (quoting Black's Law Dictionary)).

72.   While the assignments purports to assign both the mortgage and the note, MERS, which is a

      registry system that tracks the beneficial ownership and servicing of mortgages, MERS was

      never the holder of the note, and therefore lacked the right to assign it. While MERS was the

      mortgagee of record, it was acting only as nominee, its successors and assigns. MERS is never

      the owner of the obligation secured by the mortgage for which it is the mortgagee of record.

      To be effective, therefore, an allonge must be affixed to a promissory note which it is not see

      Exhibit


73. Assignment of Mortgage was by MERS, as nomineefor Optima Mortgage, the original

      lender, at the time the assignment was effectuated. Optima mortgage no longer held any

      interest in the Note according to the defendants Pooling and Service Agreement. Which the

      note and mortgage was transferred to on or about September 28, 2004, but the defendants

      have produced a note that was purchased by Bank of America on or about 2013.

74. The purported allonge is not affixed to the note, then despite having possession of the note,

      BNY lacks the status of "holder" as defined by UCC § 1-201(20).



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75.   In the rush to originate and assign as many mortgages as possible, and in the face of an over

      whelming volume of foreclosures to be processed, mortgagees and their assignees often failed

      to assign the mortgages properly and, in some instances, committed fraud or other

      unauthorized acts in order to correct the assignment paper trail.

76.   If a judicial system intends to treat debtors as being responsible for complying with the terms

      of the mortgage contract itself, it would be reasonable to expect that system to demand that

      the other parties to the contract abide by similar formalism.

77.   Courts should not permit the defendants, mortgagees and their assignees to subvert, supplant,

      and circumvent the very formalities that they utilize to foreclose upon the debtors.

78. The controlling assignment is not valid, and the defendants is demanding that the defendants,

      assignee prove that the January 28, 2008 assignment is valid.

79. The defendants, assignee never had good legal title to plaintiffs property the assignment is

      invalidly assigned, voidable. Void and entirely ineffective.



                                                 COUNT 1
                         VIOLATION OF THE MORTGAGE POWER OF SALE
                                              G.L.c 183, § 21
                                           ALL DEFENDANTS
80. Plaintiff repeats and re-alleges each and every allegation set forth above as if reasserted and

      realleged here.

81. Massachusetts permits non-judicial foreclosure under the statutory power of sale contained in

      G.L.c 183, § 21, Section 21. The following "power" shall be known as the "Statutory Power of

      Sale", and may be incorporated in any mortgage by reference:

                                            (POWEROF SALE)




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 82. But upon any default in the performance or observance of the foregoing or other condition,

      the mortgagee or his executors, administrators, successors or assigns may sell the mortgaged

      premises or such portion thereof as may remain subject to the mortgage in case of any partial

      release thereof, either as a whole or in parcels, together with all improvements that may be

      thereon, by public auction on or near the premises then subject to the mortgage, or, if more

      than one parcel is then subject thereto, on or near one of said parcels, or at such place as may

      be designated for that purpose in the mortgage, first complying with the terms of the mortgage

      and with the statutes relating to the foreclosure of mortgages by the exercise of a power of

      sale, and may convey the same by proper deed or deeds to the purchaser or purchasers

      absolutely and in fee simple; and such sale shall forever bar the mortgagor and all persons

      claiming under him from all right and interest in the mortgaged premises, whether at law or in

      equity.

83. The Supreme Judicial Court has held that a mortgagee must strictly comply with the terms of

     the power of sale. U.S Bank NatT Ass'n. v. Ibanez, 458 Mass. 637, 646 (2011) ("[0]ne who

     sells under a power [of sale] must follow strictly its terms. If he fails to do so there is no valid

     execution of the power, and the sale is wholly void.") (quoting Moore v. Dick, 187 Mass. 207,

     211 (1905), See Roche v.Famsworth, 106 Mass. 509, 513 (1871) (power of sale contained in

     mortgage "must be executed in strict compliance with its terms .

84. Under the terms of plaintiffs mortgage, the "lender" must send a notice of default advising

     plaintiff of certain facts before the mortgage may be accelerated.

85. The servicer of plaintiffs mortgage SPS sent a notice of default on September 11, 2018 and

     caused an affidavit to these facts to be recorded in the Norfolk Registry of deed Book 36285

     page 536.



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86. At the time the notice of default was sent SPS was not the lender of the mortgage. Rather

      defendant BNY was the claimed lender pursuant to an assignment of mortgage filed in the

      Norfolk Registry of Deeds Book 25529 page 356.

87. Therefore the notice of default was deficient, and the power of sale was not complied with

      prior to foreclosure. The April 2018 foreclosure is therefore void.

      Wherefore: Plaintiff ask the court to grant attorney fee, damages, trebled damages, statutory

      damages, fees & Cost, void of foreclosure injunctive relief and whatever court deems

      appropriate.

                                                 COUNT 2
                                    VIOLATION OF G.L. c 244 § 15A
                                           DEFENDANTS BNY



88. Plaintiff repeats and re-alleges each and every allegation set forth above as if reasserted and

      realleged here.

89.   The statues related to foreclosures under G.L.c 183, § 21, are contained at G.L.c 244 §§ 11-

       17C.


90.   Failure to comply with any of these requirements voids a foreclosure sale .As set out in

       Schumacher, a mortgagee's failure to adhere to the requirements under the power of sale,

       including G.L. c. 244, § 15A, will void a foreclosure sale. Schumacher, 467 Mass. 421 at 432.

      "Where a [homeowner] claims that the mortgage holder failed strictly to adhere to the

      requirements under the statutory power of sale set forth in G.L. c. 183, § 21, and the related

      requirements in G.L. c. 244, §§ 11-17C, proof of any violation of these requirementswill

      void the foreclosure sale ...." Id. (Gants J., concurring). Additionally, in Bank of N.Y. v.

      Bailey, 360 Mass. 327, 335 (2011), the Court overturned a motion for summary judgment and

      voided a foreclosure when the mortgagee did not strictly comply with G.L. c. 244, § 15.

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91. Under G.L.c 244 15A, part of the power of sale, a mortgagee must notify the city tax assessor

      or collector of the foreclosure within 30 days.

             Section 15A. A mortgagee taking possession of mortgaged premises prior to
             foreclosure or a mortgagee conveying title to mortgaged premises pursuant to the
             provisions of this chapter shall, within thirty days of taking possession or conveying
          title, notify all residential tenants of said premises, and the office of the assessor or
             collector of taxes of the municipality in which the premises are located and any
          persons, companies, districts, commissions or other entities of any kind which
          provide water or sewer service to the premises, of said taking possession or
             conveying title.


92. BNY did not notify the city tax assessor, collector or the Town of Stoughton within 30 days of

      the foreclosure.


  The Defendant BNY did not make the required notification to the Town of Stoughton until more

  than 4 months after the April 2018 foreclosure sale which was on or about September 11, 2018

  (Exhibit), this record is a true copy of the property record card published by the Town of

  Stoughton and obtained by the plaintiff.


93.   Defendants BNY failed to notify the Town of Stoughton of the transfer violated G.L.c 244 §

      15A.


94.   As a result, BNY did not strictly adhere to the foreclosure requirements under the statutory

      power of sale. The foreclosure is therefore void.

      Wherefore: Plaintiff ask the court to grant attorney fee, damages, trebled damages, statutory

      damages, fees & Cost, void of foreclosure injunctive relief and whatever court deems

      appropriate.




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                                                    COUNT 3


                                 Unfair & Deceptive Trade Practice Act MGL 93a

       95. Plaintiff repeats and re-alleges each and every allegation set forth above as if reasserted

           and realleged here.

96.   Defendants SPS and BNY failed to send plaintiff a Notice of default / acceleration which

      complied with The mortgage of power of sale.

97. Defendants failed to comply with MGL c 244 with taking steps to make a good faith effort to

      avoid foreclosure.

98. Defendants BNY failed to inform assessor office since 2008 that they were the new owners

      due to multiple foreclosure sales:. A mortgagee taking possession of mortgaged premises

      prior to foreclosure or a mortgagee conveying title to mortgaged premises pursuant to the

      provisions of this chapter shall, within thirty days of taking possession or conveying title,

      notify all residential tenants of said premises, and the office of the assessor or collector of

      taxes of the municipality in which the premises are located and any persons, companies,

      districts, commissions or other entities of any kind which provide water or sewer service to

      the premises, of said taking possession or conveying title.

99.   Defendant Sandra Robinson allowed Tiffany Skaife to fill in a mortgage assignment when she

      was not a notary.

100. Defendant Sandra Robinson did not keep a log of plaintiff assignment under Texas notary

      rules.


101. Defendant Sandra Robinson admitted that she could not give the plaintiff a certified copy of

      the assignment or her ledger and that she did not have a copy to provide plaintiff with.




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102. Defendants BNY did not have an actual valid mortgage assignment or a Note (Both) assigned

     to them before they started foreclosing on plaintiff or sold plaintiffs home.



     Wherefore: Plaintiff ask the court to grant attorney fee, triple damages, trebled damages,

     statutory damages, fees & Cost injunctive relief and whatever court deems appropriate.



                                          COUNT4


                    VIOLATION OF SECTION 19 of THE MORTGAGE

                       (PINTI & THOMPSON VIOLATION) (SPS & BNY)

103. Plaintiff repeats and re-alleges each and every allegation set forth above as if reasserted and

     realleged here.

104. The notices that defendant SPS did not comply with paragraph 19 because it didn't say

     anything about the five-day deadline. Instead, the letter advised the borrowers that they could

     reinstate "before" the foreclosure sale, which implied that a reinstatement payment

     givenfewer than five days before the sale would reinstate the loan. The notice did not fully

     inform the borrowers about the five-day deadline to reinstate the loan, the breach letter was

     deceptive. The court ultimately found that the letter was not in strict compliance with the

     terms of the mortgage nor Massachusetts law, SQQPinii v. Emigrant Mortg. Co., 472 Mass.

     226, 33 N.E.3d 1213, 1220-21 (2015))



Wherefore: Plaintiff ask the court to grant attorney fee, damages, trebled damages, statutory

     damages, fees & Cost injunctive relief. Void foreclosure and whatever court deems

     appropriate.



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                    PLAINTIFF DEMANDS A JURY TRIAL




Respectfully Submitted July 22, 2020
Paul Jones
572 Park Street
Stoughton, Ma 02072
617-939-5417
Pj22765@gmail.com




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         EXHIBIT I

                  NOTE
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                             MIq: ^H?547>^^^Hoo06'3                                                      Loan Number: ^^^10008
                                                     ^iC\DJUSTABLE RATE NOTE
                                                                (6-Month LIBQR Index - Rate Caps)
                             (Assumabla during Life of Loan) {Rrst Business Day of Preceding Month Lookback)

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                     Applicable Law. Lea^r also shall not axerdse this option Ifl (i) Borrcwer causes lo be submilicd to
                     Leoder tnlb.'oation rcquirod by Lender lo evilaaie (beintended uansibree as if a newloa.i warsbeing
                     madelothe(laflsrerea; and (b)Lender(casoosbly detcnnlDes thu Lender'ssxu/ily wilInotbefmpaliid
                     by the loan assumption and that theriskof a breach of any covenant or agcHraaot la this Semrily
                     iDStnimenl li acceplstde to Lander.
                         To the cxieiX parmitted byApplicable Law. Lender may chargea raasonable fbe as a cosdllloti to
                     Lender's coiuont to tbe ban assumption. Lendermayalso requirethe inoiferee (a signu aantnpUon
                     agreement that is acceptable to Lender and (bet obllgales (heInniferee to keepall the promises and
                     agreements made IntheNote and Inthis Security Instruaeni. Borrower wtU continue lobeobligated
                     uoder theNote ud thisSecurRy Instnmenlonlra luMlerreleases Borrower In wrldng.
                         If Landerexercise) the opdoa to requireImmediate payment in hill, Lendershall giveBonower
                     noticeofKcetRalloa. Hi: notice ibell piuvidet p«rIod ofnotlus thaa30dayslircm thedatethefloUce
                     to given in acccrdaice with Section 15 within which Borrower must p«y all )-aim secored by this
                     Security Instrument. IfBonower&Jls topity these sums prior to (he expiratloa of this period, Lender
                     may iavokeany remedies permitted by this Security IntlnunentwKltout Airther eotlce or demand on
                     Borrower.




             Borrower Initials: " »
             MULnSTATC MUUSTABLE XATS NOTC >64ii!unnTlBo71ni                                                  3tnsm
             (AMunabIa Outbig Ltfb at Latn] (Flnt 8u»'iwai 0«y IxskbKi
                                                               L SkbKK)                                        wmv.tfeooM^'e.eMn
             sinoit PemNy-PraSdio      MOlXFieo MSTRUMlNT
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             WTTNESS THE HANDp) AND SEAL(5) OF THE UNDERSIGNED




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              'AUL JON                         •Bccnmir                       •Qomwer




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                                               -Bomvrer                       -Barrower




                                               -     (SeiD                    — M
                                               •Sorrower                      •Borrower




                                                                     (Stga Orlgtul Oittf}




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             Smtt Pwiriy-Fr^dl* Mcc MOOFIED MSTRUME^
             Fern 9S20 3/04                              P»p»iot'.
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                        ECaren Hellmich
                       V.P. of Operetions
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                                       I'AYTOTHBORDEROF               PAYTOIYCOROEROP

                                  COUKTRYWIDB HOME LOAKS INC.

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                                       WTTHOUTMCOUME                     WTHOUTRECOUR96

                             COUNTRYWIDE DOCUMEhrr CUSTODYSCAVtCes,                        LOANS. INC.
                                 AWV1SIW0FTMASURYBANK.NA


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                               PREPAYMEWT ADDENDUM TO NOTE

        Loan Numtier: I

        Date: JUNE 22,        2004

        BonowcrCs): PAUL JONES


                THIS PBEPAYMENT ADDENDUM TONOTE (the -Addeadom") ismade tMs 22nd                 day of
                 JUNE, 2004           , and IsIncoiporatedinto and sha]l bedecned 10amend ladsai^entent
        ifaat certain promissory note (tbe"Note")made by the sndenlgned ('Borrower'^ in favorof OPTIMA
        MORTGAGE CORPORATION


        ("Lender") anddated thesame dale as this Addendum. Repayment oftheNote issecured bya Mortgage, Deed of
        Trust, orSecurity Deetl (the "Security fnstruinenC) given iy Bornnver In favor of Lender and dated Ibo same date
        as (bis Addendum. To (heextent thattheprovisions of (his Addendum are Inconsistent with (heprovisions of (he
        No(e, the provls[ons of tb[$ Addendum simllsupersede (lie inconsistent pro\'isions of (heNote.

                ADDITIONAL COVENANTS. In aiidilion to thecovenants andagreements made in 11r> Note, Borrower
        and Lroder further covenant andagree as follows:

                Section 5           of theNote is amended to readio its entirety as follows:

                    5     . BORROWER'S RIGHT TO PREPAY; PREPAYMENT CHARGE
                          I have the right tomaXe payments ofPrincipal atanylime before they aredoc. A payment
                of Principal onlyis knownas a "Pfcpaymenl." When I makea Prepaynicn:, I wiil tell the Note
                Holder in writing Iftai I amdoing so. I may not designate a payment asa Prepayment IfIhave not
                madeall themonthly payments due underthe Note.
                       TheNoteHolderwill use my Prepayments to ledocethe amount of Principal that1 owe
                under tbeNote. However, theNote Holder may upply myPrepayment totheaccrued andunpaid
                Interest on the Prepaymcm amODiMi before applying my Prtpaymeot to reduce (ha Principal amount
                of (beNoto. If 1 niahe a partial Prepayment, there will be no changes in the due dates of my
                monthly payment unless (bo NoteIloldu agrees inwritingto liu>sc changes.
                        IflbeNole provides forchanges In(be interest rate, my partial Prepayment my reduce (he
                amount of my moathly payments after the Brst Change Date ftdlowiag my partial PrepaymenL
                However, anyreduction due to mypartial Prepayment may beof&el byan Interest nie inoeaso.
                        If I makea MJ Prepaymentof die Note before(hedate Gxed for payment. I will at the
                sametime paya Prepayment charge e:|uai to (bebalaDcc of thefirstyear's interestor three (3}
                months' interest, whichever is less; pr^dctj. howevor. (bat if1make a^ Prepayment within
                TVSNTY-FiXiR ( 24 ) months from the date of (he Nole for(be purpose ofreCoandng
                with analberGnacclaJ iostilulion. I willpay an additional Prepayment charge equal (o three (3)
                moalbs' interest.




                                                                                           11592 PPP 001                 001
       MASSACHUSETTS PREPAYMENT AOOENDlAf TO NOTE                                              DacMagleCOiaam teosit-wt
       oroa                                                 PssB 1 or 2                                iMmii.tioatiagia,eom




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         Borrower                                         Borrower




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         EXHIBIT 2
     William N. Albright affidavit for
     Notary Sandra Robinson
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                  INVESTIGATIVE RESEARCH ASSOCIATES
                                   P.O.   BOX 832947
                      RICHARDSON,                 TX        75083-2947
                                     972-889-3333
                              972-889-3338                    (FAX)




AFFIDAVIT       OF WILLIAM N.       ALBRIGHT



MY KAMI    IS   WILLIAM N*,       ALBRIGHT.       I    .AM O'.TR     THZ AGE       IF 1=   YEArS .AI<I
CAPABLE OF MAKISG THIS Arrll.AVIT.                     I    AM THE      IWTCE?    AST MAOLAGEr   IF
XN^ESTIGATI'.E RESEARCH ASSCHATES,                         ?.C.   BOX    rE2R4".     RIIHARLSIK,
TEXAS    "sies.


ON CCTCBER 5C,       2012,    I    RECEIVEC LEGAL CITRT OICTMENTS TO BE
SER'."! TO SAKDRA J.         ROHINSCN.        I       REREClLALLi        CELI-.*E5-EC   THESE
rAFERG, IN BEHALF OF Ml* ILIENT, RATL TINES, TI MS. RIBINSIN AT
HER RESIIENIE IF 2391 FM 45f, AT5REY, H'!, ~€22", IN l l - l - l l . A"
APPROXIMATELY ":3C P.M.   MS. RIBINSIN AIIEPTEC THE ICITME:r:S
KITHITT INCIDENT, AND WAS FRIENCLY AND CCCRERATII^ DCRING CTR
INTERACTION AND OCiriERSATION WITH .HER.

CNCE T.HE DOCUMENTS WERE DE1I0'E?E:D TI MS. RIBINSIN, WE TALfTED
ABOUT HER EXPERIENCE AT COU^iTRYliIOE/BAiiK OF .AMERI'IA. SHE
ACiC.'OWLEDGEI THAT SHE DID WIRE FIR lOUNTRTWICE MCRTGAGE BATrK OF
AMERICA,    CURING 2019, A3;C PRIOR TI THIS TIME.                            SHE W.AS A BINIFIED
EMPLOz'EE FOR COUJJTRYWICE MORTGAGE B-AiiK IF .AMERIIA,                             ANI NITARIZED
LOTS IF OICUMENTS,       S0!^T:MES AS yAirf AS Ii: PER I.A:.

WHILE .AT COUIZTRTWIIE 5RI:K OF AMERIOA, MS. RIBINSIN SAII THAT SHE
HADE NO EFFORT TI KEEP A NIT.AR.'i LOG IF E'.'ERY OIITMENT SHE SIGNED,

DCCTMENTS SHE NDTARTDED.  IF THERE WERE STDH .A NITAR-Y LOG, IT
WOULD BE IN THE PISSESSIDN IF DDlTiTRTKIDE MORTGAGE 5.-0CK IF
AMERICA.        LAFTER AIK3MWLEIGING THIS TI IS, MS. RIBINSI^MADE
CLEAR. TO US, TI-iAT IF IT WAS REREATEI TO AOn'TNF,                              SHE WO _I TENY
E\^R S.AYING IT.:

WE SHOWED MS. ROBINSON A COPY IF THE ASSIGNMENT OF MIRTG.AGE,
WHICH WAS N0TART2ED BY MS. RIBINSIN, .AliD I.ATEI 1-25-211=.  SHE
AC?C;iWLED<3ED THAT TIFFAliY SKAIFE C.HRIJGEI THE "ATE IN THE

NUMER-Al "8" WAS M.ADE, WAS NIT TYPICAL IF HOW SHE WITLI MA_VZ -.HE
NUMREr.AL "3."   SHE WIULC H.AU*E MACE IT WITH TWC IIRILES IN TIr IF
EACH OTHER-    NOT THE WAY IT W.AS IRAWN.   SHE REITERATEI SE-.TTRAL
TIMES, THAT SHE DID KIT OrLAilGS THE OATE, THE WAY THt DATE IS
WRITTEN    IS   NOT HER HAJCDWRIIING.
      Case
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FINALLY, MS. ROBINSON SAID THAT TIFFANY SKAIFE WORKED ir-MEDIATELY
IN BACK OF HER AT COUNTRYWIDE MORTGAGE, AND THAT SHE (TIFFANY)
WOULD FREQUENTLY HAND HER AS MANY AS FIVE DOCUMENTS AT A TIME FOR
HER TO NOTARIZE, AND THAT SHE WOULD NOTARIZE THEM WITHOUT LOOKING
AT THEM, OR FILLING OUT A NOTARY LOG.

I   SOLEMLY SWEAR AND AFFIRM THAT THIS AFFIDAVIT                      IS TRUE AND
CORRECT.




             WILLIAM NC ALBRIG^

Signed and sworn before n.e, tnis                 [^   z'r. Da\>>of

ioaoe   or    «exas




                  "                JLHSI - PAPK




                      '   IP   m     ^ ^           <
